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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________

                  United States of America                      )
                             v.                                 )
                        JOHN LOLOS
                                                                )       Case No.
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               January 6, 2021               in the county of                                in the
                       District of       Columbia           , the defendant(s) violated:

                      Code Section                                        Offense Description
                                             Knowingly Entering or Remaining in any Restricted Building or Grounds
                                             Without Lawful Authority

                                             Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached statement of facts.




             Continued on the attached sheet.


                                                                                           Complainants signature

                                                                                   Robert Flock, Special Agent, USCP
                                                                                            Printed name and title




Date:
                                                                                              Judges signature

City and state:
                                                                                            Printed name and title
